        Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 1 of 32. PageID #: 275




                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 CHARLES HICKS,                                    )   Case No. 5:23-cv-00001
                                                   )
        Plaintiff                                  )
                                                   )   JUDGE SARA LIOI
 -vs-                                              )
                                                   )   LOC. R. 37.1 CERTIFICATION OF
                                                   )   ATTEMPT TO RESOLVE
                                                   )   DISCOVERY DISPUTE
                                                   )
 CITY OF AKRON, et al.,                            )
                                                   )
        Defendants                                 )


        I, Kirsten L. Smith, declare and make each statement herein under penalty of perjury and

certify that the following statements are true and correct:

        1. I have personal knowledge of the facts contained herein.

        2. I am counsel for Defendants City of Akron, Paul Barnes, Scott Lietke, Samnang Nan,

            John Turnure, and Gary White in Charles Hicks v. City ofAkron, et al., N.D. Ohio No.

            5:23-cv-00001.

        3. Defendants served Plaintiff with its Request for Production of Documents Directed to

            Charles Hicks, II ("RPD") on March 28, 2023. A true and accurate copy of the RPD is

            attached hereto as Exhibit A.

        4. Plaintiff responded to Defendants' RPD on June 21, 2023. A true and accurate copy of

            Plaintiffs Response is attached hereto as Exhibit B.
Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 2 of 32. PageID #: 276




 5. During the deposition of Plaintiff Charles Hicks II on October 18, 2023, I discovered

    through Mr. Hicks' testimony that Mr. Hicks did not provide Defendants with all of his

    medical records in response to RPD Numbers Five, Six, Seven, Eight, and Nine.

 6. On October 19, 2023, I sent Mr. Hicks' counsel a letter via electronic mail requesting

    that he supplement Mr. Hicks' responses to Defendants' RPDs with the missing

    medical records by October 26, 2023. A true and accurate copy of the letter and the e­

    mail is attached hereto as Exhibit C.

 7. Mr. Hicks' Counsel acknowledged that he read the e-mail containing the letter on

    October 19, 2023, by sending a "Read Receipt." A true and accurate copy of the Read

    Receipt is attached hereto as Exhibit D.

 8. I sent a follow-up e-mail to Mr. Hicks' counsel on October 27, 2023, the discovery

    cutoff date, to request the status of the missing medical records. A true and accurate

    copy of the e-mail is attached hereto as Exhibit E.

 9. Mr. Hicks' counsel responded that he had requested the missing records, but had not

    yet received them. A true and accurate copy of the e-mail is attached hereto as Exhibit

    F.

 10. As of November 3, 2023, Defendants have not received the complete responses to RPD

    Numbers Five, Six, Seven, Eight, and Nine.

 11. I have made sincere, good faith efforts to obtain the medical records prior to seeking

    Court intervention.

 12. I filed a Motion for a Telephonic Conference to Resolve Discovery Dispute within ten

    days of the discovery cutoff date, as required by Loe. R. 37.1.




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     Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 3 of 32. PageID #: 277




      I, Kirsten L. Smith, declare under penalty of perjury that the foregoing is true and correct.

Executed on November 3, 2023




                                                    Kirsten L. Smith




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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 4 of 32. PageID #: 278


EXHIBIT A


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 CHARLES HICKS, II                                   )   Case No. 5:23-cv-00001

                                                     )
         Plaintiff                                   )   JUDGE SARA LIOI

                                                     )
 -vs-                                                )   DEFENDANTS' REQUEST FOR
                                                         PRODUCTION OF DOCUMENTS
                                                     )   DIRECTED TO CHARLES HICKS, II
 CITY OF AKRON, OHIO, et al.                         )
                                                     )
                                                     )
         Defendants
                                                     )

                                                     )


        Defendants, City of Akron, John Turnure, Samnang Nan, Gary White, Paul Barnes, Heath

Smith and Scott Lietke request Plaintiff, Charles Hicks, II, to respond to the following Request for

Request for Production of Documents hereinafter propounded. Demand is respectfully made that the

responses and documents be served within thirty (30) days from service thereofupon the undersigned,

161 S. High Street, Suite 202, Akron, Ohio 44308.

        These Requests for Production of Documents are continuing and, to the extent that the

answers may be enlarged, diminished, or otherwise modified by information acquired by Plaintiff,

Charles Hicks, II, or his attorney, subsequent to the filing of Plaintiffs initial answer hereto, Plaintiff

and his attorney are requested to serve promptly thereafter and file supplemental answers reflecting

such changes.




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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 5 of 32. PageID #: 279




        Whenever the word "Plaintiff' is used, it means the Plaintiff, Charles Hicks, II, and any of the

agents, attorneys, or investigators of Plaintiff. The term "you" means Charles Hicks, II or anyone

acting on behalf of Charles Hicks, II.

        The term "document" (or "documents") as used in these Requests, includes, without

limitation, writings, photographs, recordings, prints, letters, reports, memoranda and other data

compilations from which information can be obtained, including copies thereof produced by

mechanical or photographic or other means of reproduction of whatsoever nature, which are in the

possession or control of the Plaintiff or his counsel, or agents.




           DEFENDANTS' REQUESTS FOR PRODUCTION OF DOCUMENTS



REQUEST NO. 1:

        Produce working papers, notes, calculation, diagrams, photographs, models, exhibits, and

other documents, including reports and factual observations, prepared or reviewed by an expert

who will testify at trial.

RESPONSE:




REQUEST NO. 2:

        Produce copies of all transcripts of testimony previously provided by an individual

identified by you as an expert witness.

RESPONSE:




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     Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 6 of 32. PageID #: 280




REQUEST NO. 3:

         Produce treatises, rules, regulations, guidelines, statutes, policies, procedures, and any

other authoritative materials considered in forming an opinion by any expert who will testify at

trial.

RESPONSE:



REQUEST NO. 4:

         Produce all photographs, videotapes, cellular phone recordings or surveillance camera

footage, and drawings that depict anything related to the incident in the Amended Complaint.

RESPONSE:




REQUEST NO. 5:

         Produce all documents establishing any physical or psychological/emotional injury

claimed by you as a result of the incidents and events alleged in the Amended Complaint.

RESPONSE:




REQUEST NO. 6:

         Produce all medical records, office notes or diagnostic tests pertaining to treatment

sought or received as a result of the incident in the Amended Complaint.



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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 7 of 32. PageID #: 281




RESPONSE:




REQUEST NO. 7:

       Produce all other documents relating to the treatment of the physical or emotional injuries

you sustained as a result of this incident in the Amended Complaint.

RESPONSE:




REQUEST NO. 8:

       Produce all medical bills or other statements for all treatment (medical doctors,

chiropractors, counselors, psychiatrists, psychologists, DO's, and thrapists) for injuries or

conditions caused by the incident in the Amended Complaint.

RESPONSE:




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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 8 of 32. PageID #: 282




REQUEST NO. 9:

       Produce all medical records, office notes or diagnostic tests pertaining to treatment

sought or received relating to your alleged emotional distress or other psychological conditions

caused by the incident in the Amended Complaint.

RESPONSE:




REQUEST NO. I 0:

       Produce all documents showing any alleged loss of employment or wages resulting from

the incident in the Amended Complaint.

RESPONSE:




REQUEST NO. I I:

       Produce all documents used to state the total amount of money you believe would

provide reasonable compensation for the non-economic losses you suffered or are likely to suffer

as a result of the incident in the Amended Complaint.

RESPONSE:




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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 9 of 32. PageID #: 283




REQUESTNO. 12:

       Produce all documents used to describe the method by which you calculated the total

amount of money you believe would provide reasonable compensation for the noneconomic

losses you suffered or are likely to suffer as a result of the incident in the Amended Complaint.

RESPONSE:




REQUESTNO. 13:

       Produce all documents used to state the total amount of money you believe would

provide reasonable compensation for the economic losses you suffered or are likely to suffer as a

result of the incident in the Amended Complaint.

RESPONSE:



REQUESTNO. 14:

       Produce all documents used to describe the method by which you calculated the total

amount of money you believe would provide reasonable compensation for the economic losses

you suffered or are likely to suffer as a result of the incident in the Amended Complaint.

RESPONSE:




REQUESTNO. 15:

       Produce all documents used to state the total amount of money you seek in this case.

                                                 6
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 10 of 32. PageID #: 284




RESPONSE:




REQUEST NO. 16:

       Produce all portions of your income tax returns relating to any source of income (whether

passive, active or investment), including W-2 forms, schedules and all other attachments relating

to income or remuneration, for each of the past five ( 5) years.

RESPONSE:




REQUEST NO. 17:

       Produce all doctors' reports, intake questionnaires, charts, medical histories, test results,

notes, diagnoses, or any other similar medical documents regarding your physical or mental

condition involving any injuries or damages for which you are seeking recovery in this lawsuit.

RESPONSE:




REOUESTNO. 18:

       Produce a copy of any written custom, policy, or practice that you believe the City of

Akron had adopted, implemented, and/or enforced and that you allege caused any deprivation of

your rights.

RESPONSE:

                                                  7
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 11 of 32. PageID #: 285




REOUESTNO. 19:

       Produce any document that discusses or describes any unwritten custom, policy, or

practice that you believe the City of Akron had adopted, implemented, and/or enforced and that

you allege caused a deprivation of your rights.

RESPONSE:




REQUESTNO. 20:

       Produce a copy of any written rule, regulation, or directive policy that you believe the

City of Akron had adopted, implemented, and/or enforced and that you allege caused a

deprivation of your rights.

RESPONSE:




REQUESTNO. 21:

       Produce any document that discusses or describes any unwritten rule, regulation, or

directive policy that you believe the City of Akron had adopted, implemented, and/or enforced

and that you allege caused a deprivation of your rights.

                                                  8
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 12 of 32. PageID #: 286




RESPONSE:




REQUEST NO. 22:

       Produce any document that identifies, discusses, or describes any training that you

believe the City of Akron should have provided to its police officers prior to the incident and that

you allege would have prevented a deprivation of your rights.

RESPONSE:




REQUEST NO. 23:

       Produce any document that identifies, discusses, or describes any supervision that you

believe the City of Akron should have provided to its police officers prior to the incident and that

you allege would have prevented a deprivation of your rights.


RESPONSE:




                                                 9
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 13 of 32. PageID #: 287




REQUEST NO. 24:


       Produce any document that identifies, discusses, or describes any discipline that you

believe the City of Akron should have imposed upon its police officers prior to the incident and

that you allege would have prevented a deprivation of your rights.

RESPONSE:




REQUEST NO. 25:

       If you allege or contend that, prior to the incident, there was a pattern of wrongdoing or

unlawful action by City of Akron police officers that was similar to the alleged wrongdoing or

unlawful action about which you now complain and of which the City should have been aware,

produce the document that identifies, discusses, or describes each such alleged incident.

RESPONSE:




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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 14 of 32. PageID #: 288




                                     Respectfully submitted,

                                     Eve V. Belfance
                                     Director of Law


                                     ls/Michael J. Defibaugh
                                     John Christopher Reece- No. 0042573
                                     JReece@akronohio.gov
                                     Michael J. Defibaugh- No. 0072683
                                     MDefibaugh@akronohio.gov
                                     Assistant Directors of Law
                                     161 S. High Street, Suite 202
                                     Akron, Ohio 44308
                                     (330) 375-2030 FAX: (330) 375-2041




                                 CERTIFICATE OF SERVICE


       This is to certify that on March 28, 2023, a true and accurate copy of the foregoing

Requests for Production of Documents Directed to Plaintiff Charles Hicks, II was sent by

electronic transmission to:



               Attorney Eddie Sipplen

               esipplen@sipplen.com




                                     ls/Michael J. Defibaugh
                                     Michael J. Defibaugh- No. 0072683




                                               11
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 15 of 32. PageID #: 289

EXHIBIT B


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CHARLES HICKS, II                                    )   Case No. 5:23-cv-00001

                                                      )

         Plaintiff                                    )   JUDGE SARA LIOI

                                                      )
 -vs-                                                 )   PLAINTIFF CHARLES HICKS2 II
                                                          RESPONSE TO DEFENDANTS'
                                                   )      REOUEST FOR PRODUCTION OF
 CITY OF AKRON, OHIO, et al.                              DOCUMENTS DIRECTED TO
                                                   )
                                                          CHARLES HICKS2 II
                                                   )
                                                   )
         Defendants
                                                   )

                                                   )




   PLAINTIFF'S RESPONSES DEFENDANTS' REQUESTS FOR PRODUCTION OF
                             DOCUMENTS


PRELIMINARY STATEMENT

        Plaintiff, Charles Hicks, II,("Plaintiff"), hereby objects to the form of each discovery

request to the extent it incorporates any definition or instruction set forth by Defendants or

Defendants' attorney. By responding to these discovery requests, Plaintiff does not adopt any

instruction, definition or characterization of any term used by Defendants or Defendants'

attorney. In responding to these discovery requests, Plaintiff gives all terms their ordinary

meaning unless otherwise indicated.



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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 16 of 32. PageID #: 290




          Charles Hicks, II,.'s search for information is ongoing. Consequently, these responses are

made without prejudice to Charles Hicks, II right to present additional evidence or contentions at

trial based upon information subsequently discovered or brought to their attention during the

pendency of this case. To the extent any subsequently discovered information renders any initial

response incomplete, incorrect, or otherwise subject to supplementation, Plaintiff reserves the

right to modify and/or supplement these responses and will do so as required by the Federal

Rules of Civil Procedure.

          The word usage and sentence structure of the responses to these discovery requests are

those of the attorneys assisting in the preparation of these responses and objections and do not

purport to be the precise language of the executing party.

          To the extent these discovery requests seek to impose upon Plaintiff greater or broader

obligations than those imposed by the Federal Rules of Civil Procedure, Plaintiff declines to

assume those obligations.

      All information is provided without in any way waiving or intending to

waive, but on the contrary intending to preserve:

          A.     All questions as to the competency, relevancy, materiality, privilege, and

admissibility as evidence for any purpose, of the information provided herein, in any subsequent

proceedings in, or the trial of, this or any other action;


          B.     The right to object to the use of any of the information produced herein in any

subsequent proceedings in, or the trial of, this or any other

action;




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     Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 17 of 32. PageID #: 291




           C.     The right to object on any grounds, at any time, to a demand for further

interrogatories, document requests, or other discovery procedures involving or relating to the

documents produced; and

           D.     The right at any time to review, correct, add to, or clarify any of the responses or

objections to these Requests.

                                      GENERAL OBJECTIONS


1.         Plaintiff objects to these Requests to the extent that they impose obligations greater than

those imposed by the Federal Rules of Civil Procedure, the Local Rules of this Court, or any orders

of this Court.

2.         Plaintiff objects to these Requests to the extent that they seek information or documents

subject to the attorney-client privilege, work product doctrine, or that are otherwise privileged,

confidential, or immune from

discovery.

3.         Plaintiff objects to these Requests to the extent that they seek information and/or

documents not in Defendants' possession, custody or

control.

4.         Plaintiff objects to these Requests to the extent that they seek the creation of any document

or compilation of information.

5.         Plaintiff objects to these Requests as overly broad and unduly burdensome to the extent

that they contemplate Plaintiff summarizing or otherwise reporting the contents of voluminous

documents.




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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 18 of 32. PageID #: 292




        These general objections apply to each and every Request propounded by Defendants.

Without waiving any of the foregoing general objections and without waiving objection

specifically made, Plaintiff hereby answers the Requests as set forth herein.



                                 DOCUMENTS REQUESTED

REQUEST NO. 1:

        Produce working papers, notes, calculation, diagrams, photographs, models, exhibits, and

other documents, including reports and factual observations, prepared or reviewed by an expert

who will testify at trial.

RESPONSE:
To be determined. Requested information will be provided within the timeframe provided
within the timeframe specified in the Court's April 26, 2023 Case Management Conference
Plan/Order.

REQUEST NO. 2:

        Produce copies of all transcripts of testimony previously provided by an individual

identified by you as an expert witness.

RESPONSE:

Objection. This request is overly broad and burdensome. Additionally, it requires Plaintiff
to produce documentation not in his possession. Whether an expert is utilized or not is to
be determined.

Subject to the foregoing objection: To be determined. Requested information will be
provided within the timeframe provided within the timeframe specified in the Court's
April 26, 2023 Case Management Conference Plan/Order.




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    Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 19 of 32. PageID #: 293




REQUEST NO. 3:

         Produce treatises, rules, regulations, guidelines, statutes, policies, procedures, and any

other authoritative materials considered in forming an opinion by any expert who will testify at

trial.

RESPONSE:

To be determined. Requested information will be provided within the timeframe provided
within the timeframe specified in the Court's April 26, 2023 Case Management Conference
Plan/Order.


REQUEST NO. 4:

         Produce all photographs, videotapes, cellular phone recordings or surveillance camera

footage, and drawings that depict anything related to the incident in the Amended Complaint.

RESPONSE:

Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. Additionally, this request is overly burdensome. There is over 35
Gigabytes of body worn video footage that was provided as part of the discovery in the Akron
Municipal Court Case 21CR01089 from Evidence.com by the City of Akron's Law
Department.

Subject to the foregoing objection, see documents produced herewith. Paper documents
provided in the above referenced case. Please advise as to how you want to handle the
voluminous body camera footage.


REQUEST NO. 5:

         Produce all documents establishing any physical or psychological/emotional injury

claimed by you as a result of the incidents and events alleged in the Amended Complaint.

RESPONSE:

See medical/psychological records provided.




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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 20 of 32. PageID #: 294




REQUEST NO. 6:

       Produce all medical records, office notes or diagnostic tests pertaining to treatment

sought or received as a result of the incident in the Amended Complaint.

RESPONSE:

See medical/psychological records provided.


REQUEST NO. 7:

       Produce all other documents relating to the treatment of the physical or emotional injuries

you sustained as a result of this incident in the Amended Complaint.

RESPONSE:

See medical/psychological records provided.


REQUEST NO. 8:

       Produce all medical bills or other statements for all treatment (medical doctors,

chiropractors, counselors, psychiatrists, psychologists, DO's, and therapists) for injuries or

conditions caused by the incident in the Amended Complaint.

RESPONSE:

See medical/psychological records provided.


REQUEST NO. 9:

       Produce all medical records, office notes or diagnostic tests pertaining to treatment

sought or received relating to your alleged emotional distress or other psychological conditions

caused by the incident in the Amended Complaint.

RESPONSE:

See medical/psychological records provided.


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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 21 of 32. PageID #: 295




REQUEST NO. I 0:

       Produce all documents showing any alleged loss of employment or wages resulting from

the incident in the Amended Complaint.

RESPONSE:

Amount of economic losses to be determined. Will Supplement.

REQUEST NO. I I:

       Produce all documents used to state the total amount of money you believe would

provide reasonable compensation for the non-economic losses you suffered or are likely to suffer

as a result of the incident in the Amended Complaint.

RESPONSE:

Objection. The amount of non-economic compensation is an amount to be determined by a
jury.

Subject to the foregoing objection, Plaintiff responds as follows: Punitive up to $lmillion in
damages are recoverable in sec. 1983 suit where defendant's conduct is motivated by an
evil motive or intent, or where it involves reckless or callous indifference to plaintifrs
federally protected rights." Smith v. Wade, 461 U.S. 30, 50 -51(1983); Clark v. Taylor, 710
F.2d 4, 14(1st Cir. 1983).

REQUEST NO. 12:

       Produce all documents used to describe the method by which you calculated the total

amount of money you believe would provide reasonable compensation for the noneconomic

losses you suffered or are likely to suffer as a result of the incident in the Amended Complaint.

RESPONSE:

Objection. The amount of non-economic compensation is an amount to be determined by a
jury.

Subject to the foregoing objection, Plaintiff responds as follows: Punitive up to $1million in
damages are recoverable in sec. 1983 suit where defendant's conduct is motivated by an
evil motive or intent, or where it involves reckless or callous indifference to plaintifrs
federally protected rights." Smith v. Wade, 461 U.S. 30, 50 -51(1983); Clark v. Taylor, 710
F.2d 4, 14(1st Cir. 1983).

                                                 7
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 22 of 32. PageID #: 296




REQUEST NO. 13:

       Produce all documents used to state the total amount of money you believe would

provide reasonable compensation for the economic losses you suffered or are likely to suffer as a

result of the incident in the Amended Complaint.

RESPONSE:

Amount of economic losses to be determined.


REQUESTNO. 14:

       Produce all documents used to describe the method by which you calculated the total

amount of money you believe would provide reasonable compensation for the economic losses

you suffered or are likely to suffer as a result of the incident in the Amended Complaint.

RESPONSE:


Amount of economic losses to be determined.


REQUESTNO. 15:

       Produce all documents used to state the total amount of money you seek in this case.

RESPONSE:

Objection. The amount of money sought in this matter is the maximum amount allowable
by law and/or awarded by a jury.

Subject to the foregoing objection, Plaintiff responds as follows: Punitive up to $1million in
damages are recoverable in sec. 1983 suit where defendant's conduct is motivated by an
evil motive or intent, or where it involves reckless or callous indifference to plaintifrs
federally protected rights." Smith v. Wade, 461 U.S. 30, 50 -51(1983); Clark v. Taylor, 710
F.2d 4, 14(1 st Cir. 1983).




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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 23 of 32. PageID #: 297




REQUESTNO. 16:

       Produce all portions of your income tax returns relating to any source of income (whether

passive, active or investment), including W-2 forms, schedules and all other attachments relating

to income or remuneration, for each of the past five ( 5) years.

RESPONSE:

 Objection. Tax returns are required to be kept only 3 years after they are filed. he IRS
recommends taxpayers keep their returns and any supporting documentation for three years after
the date of filing; after that, the statute of limitations for an IRS audit expires.

Subject to the foregoing objection, Plaintiff is gathering his tax returns and will supplement
this request.


REQUESTNO. 17:

       Produce all doctors' reports, intake questionnaires, charts, medical histories, test results,

notes, diagnoses, or any other similar medical documents regarding your physical or mental

condition involving any injuries or damages for which you are seeking recovery in this lawsuit.

RESPONSE:


See medical/psychological records provided.


REOUESTNO. 18:

       Produce a copy of any written custom, policy, or practice that you believe the City of

Akron had adopted, implemented, and/or enforced and that you allege caused any deprivation of

your rights.

RESPONSE:


Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. They have been requested in discovery, but has not as yet been provided.


                                                  9
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 24 of 32. PageID #: 298




REQUEST NO. 19:

       Produce any document that discusses or describes any unwritten custom, policy, or

practice that you believe the City of Akron had adopted, implemented, and/or enforced and that

you allege caused a deprivation of your rights.

RESPONSE:


Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. They have been requested in discovery, but has not as yet been provided.


REQUEST NO. 20:

       Produce a copy of any written rule, regulation, or directive policy that you believe the

City of Akron had adopted, implemented, and/or enforced and that you allege caused a

deprivation of your rights.

RESPONSE:


Objection. Many of the requested documents are within the possession of one or more of the
Defendants. They have been requested in discovery but has not as yet been provided.



REQUEST NO. 21:

       Produce any document that discusses or describes any unwritten rule, regulation, or

directive policy that you believe the City of Akron had adopted, implemented, and/or enforced

and that you allege caused a deprivation of your rights.

RESPONSE:


Objection. Many of the requested documents are within the possession of one or more of the
Defendants. They have been requested in discovery but has not as yet been provided.




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   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 25 of 32. PageID #: 299




REQUEST NO. 22:

       Produce any document that identifies, discusses, or describes any training that you

believe the City of Akron should have provided to its police officers prior to the incident and that

you allege would have prevented a deprivation of your rights.

RESPONSE:

Objection. Many of the requested documents are within the possession of one or more of the
Defendants. They have been requested in discovery but has not as yet been provided.

REQUEST NO. 23:

       Produce any document that identifies, discusses, or describes any supervision that you

believe the City of Akron should have provided to its police officers prior to the incident and that

you allege would have prevented a deprivation of your rights.


RESPONSE:


Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. They have been requested in discovery, but has not as yet been provided.

REQUEST NO. 24:


       Produce any document that identifies, discusses, or describes any discipline that you

believe the City of Akron should have imposed upon its police officers prior to the incident and

that you allege would have prevented a deprivation of your rights.

RESPONSE:

 Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. They have been requested in discovery, but has not as yet been provided.




                                                11
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 26 of 32. PageID #: 300




REQUEST NO. 25:

       If you allege or contend that, prior to the incident, there was a pattern of wrongdoing or

unlawful action by City of Akron police officers that was similar to the alleged wrongdoing or

unlawful action about which you now complain and of which the City should have been aware,

produce the document that identifies, discusses, or describes each such alleged incident.

RESPONSE:

Objection. Many of the requested documents/items are within the possession of one or more
of the Defendants. They have been requested in discovery but has not as yet been provided.
The allegations of the Plaintiff are contained in the Amended Complaint. Additionally, the
term "similar" is so argumentative that this request cannot be responded to.

                                              Respectfully submitted,


                                              /Sf EMSippfen
Dated: June 15, 2023                          Eddie Sipplen (OH S.Ct.# 0076712)
                                              Eddie Sipplen Attorney At Law, LLC
                                              l 655West Market Street, Ste 505
                                              Akron, OH 44313
                                              Ph: 330-374-5600
                                              Email: esipplen@sipplen.com


                                CERTIFICATE OF SERVICE

       This is to certify that on June 15, 2023, a true and accurate copy of the foregoing Responses
to Defendant(s) Request For Production of Documents was hand delivered to:

       John Christopher Reece- No. 0042573
       JReece@akronohio.gov
       Michael J. Defibaugh- No. 0072683
       MDefibaugh@akronohio.gov
        Assistant Directors of Law
       161 S. High Street, Suite 202
       Akron, Ohio 44308
                                              IS I EMSipplen

                                                 12
   Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 27 of 32. PageID #: 301

EXHIBIT C                                DEPARTMENT OF LAW
                                                                                           J. CHRISTOPHER REECE
                                                                                            Deputy Director of Law
         EVE V. BELFANCE
             Director of Law                                                               MICHAEL J. DEFIBAUGH
                                                                                            Assistant Director of Law

                                                                                              KIRSTEN L. SMITH
                                                                                           Assistant Director of Law

                                         DANIEL HORRIGAN, MAYOR


October 19, 2023

Via electronic mail only:
Eddie Sipplen
Eddie Sipplen Attorney at Law, LLC
1655 W. Market St., Ste. 505
Akron, OH 44313
esipplen@sipplen.com

       Re:      Hicks v. City of Akron, et al., N.D. Ohio No. 5:23-cv-00001
                Plaintiff's Responses to Defendants' Discovery Requests

Dear Attorney Sipplen:

Per our conversation yesterday and in light of the testimony offered by Mr. Hicks,
Defendants, City of Akron, John Turnure, Samnang Nan, Gary White, Paul Barnes, Heath
Smith, and Scott Lietke (collectively, "Defendants") are asking that Mr. Hicks supplement
his response to Defendants' Request for Production of Documents ("RPO"). Specifically,
Defendants request that Mr. Hicks supplement his responses to RPO numbers five, six,
seven, eight, and nine by providing any and all medical records that you have not already
produced documenting Mr. Hicks' counselling, psychological, or any other medical
treatments, including records of Mr. Hicks' treatments by Logistics Health Incorporated,
Army One Source, and Christine Thomas.

The Defendants respectfully request that Mr. Hicks supplement his Responses to
Defendants' Request for Production of Documents within seven days of the date of
this letter, or by October 26, 2023. If Defendants do not receive a response by October
26, 2023, we will file a motion to compel with the Court and seek fees in connection with
that motion.

If you wish to discuss this matter, you may contact myself, Michael J. Defibaugh, or John
Christopher Reece

Sincerely,


 1-=��
Kirsten L. Smith
ASSISTANT DIRECTOR OF LAW


                                             Ocasek Government Building
                               172 South Broadway Street I Suite 200 I Akron, Ohio 44308
                                    Phone: (330) 375-2030 I Fax: (330) 375-2041
  Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 28 of 32. PageID #: 302




From:           Smith, Kirsten
To:             esipplen@sipplen.com
Cc:             Reece, John Christopher; Defibaugh, Michael
Subject:        Hicks v. City of Akron et al. - Additional Medical Records
Date:           Thursday, October 19, 2023 10:31:00 AM
Attachments:    Civ.R. 37 Letter.Hicks.523-cv-00001 (10-19-23).pdf
                image00l.png


Eddie,

Please find the attached correspondence requesting that Mr. Hicks supplement his response to
Defendants' Request for Production of Documents by October 26, 2023.

Sincerely,

                 Kirsten L. Smith
                 Assistant Director of Law
                 Phone  (330) 375-2030
                 Web     http://www.akronohio.gov
                 Email   klsmith@akronohio.gov
                 Address 172 S. Broadway Street, Suite
                 200
                         Akron, Ohio 44308
  Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 29 of 32. PageID #: 303

 EXHIBIT D


From:               esipplen@sipplen.com
To:                 Smith, Kirsten
Subject:            Read: Hicks v. City of Akron et al. - Additional Medical Records
Date:               Thursday, October 19, 2023 5:39:39 PM
Attachments:        Read Hicks v. City of Akron et al . - Additional Medical Records.msg




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sender and know the content is safe.
  Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 30 of 32. PageID #: 304

EXHIBIT E

From:            Smith, Kirsten
To:              esipplen@sipplen.com
Cc:              Reece, John Christopher; Defibaugh, Michael
Subject:         RE: Hicks v. City of Akron et al. - Additional Medical Records
Date:            Friday, October 27, 2023 9:05:00 AM
Attachments:     Civ.R. 37 Letter.Hicks.523-cv-00001 (10-19-23).pdf
                 image00l.png


Good morning Eddie,

Just following up on the below matter, as today is the discovery cutoff. Can you advise on the status
of the missing medical records? I've attached our October 19, 2023 correspondence for reference.

Thank you,

Kirsten


From: Smith, Kirsten
Sent: Thursday, October 19, 2023 10:32 AM
To: esipplen@sipplen.com
Cc: Reece, John Christopher <JReece@akronohio.gov>; Defibaugh, Michael
<MDefibaugh@akronohio.gov>
Subject: Hicks v. City of Akron et al. - Additional Medical Records

Eddie,

Please find the attached correspondence requesting that Mr. Hicks supplement his response to
Defendants' Request for Production of Documents by October 26, 2023.

Sincerely,

                  Kirsten L. Smith
                  Assistant Director of Law
                  Phone   (330) 375-2030
                  Web     http://www.akronohio.gov
                  Email    klsmith@akronohio.gov
                  Address 172 S. Broadway Street, Suite
                  200
                           Akron, Ohio 44308
  Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 31 of 32. PageID #: 305
EXHIBIT F


From:              esipplen@sipplen.com
To:                Smith, Kirsten
Cc:                Reece, John Christopher; Defibaugh, Michael
Subject:           RE: Hicks v. City of Akron et al. - Additional Medical Records
Date:              Friday, October 27, 2023 10:21:58 AM
Attachments:       image00l.png




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the sender and know the content is safe.


Kirsten,
The additional records have been requested. When I receive them from his provider, I will forward
them to you as supplement. I'm not in control of when they respond.



El'/'3/11�1(
Eddie Sipplen Attorney At Law, LLC
1655 West Market Street, Ste 505
Akron, OH 44313
(330)-374-5600
FAX: 330-805-4496


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BY REPLYING TO THE E-MAIL. THANK YOU.




From: Smith, Kirsten <KLSmith@akronohio.gov>
Sent: Friday, October 27, 2023 9:05 AM
To: esipplen@sipplen.com
Cc: Reece, John Christopher <JReece@akronohio.gov>; Defibaugh, Michael
<MDefibaugh@akronohio.gov>
Subject: RE: Hicks v. City of Akron et al. - Additional Medical Records

Good morning Eddie,
  Case: 5:23-cv-00001-SL Doc #: 35-1 Filed: 11/03/23 32 of 32. PageID #: 306



Just following up on the below matter, as today is the discovery cutoff. Can you advise on the status
of the missing medical records? I've attached our October 19, 2023 correspondence for reference.

Thank you,

Kirsten


From: Smith, Kirsten
Sent: Thursday, October 19, 2023 10:32 AM
To: esipplen@sipplen.com
Cc: Reece, John Christopher <JReece@akronohio.gov>; Defibaugh, Michael
<MDefibaugh@akronohio.gov>
Subject: Hicks v. City of Akron et al. - Additional Medical Records

Eddie,

Please find the attached correspondence requesting that Mr. Hicks supplement his response to
Defendants' Request for Production of Documents by October 26, 2023.

Sincerely,

                  Kirsten L. Smith
                  Assistant Director of Law
                  Phone (330) 375-2030
                  Web     http://www.akronohio.gov
                  Email   klsmith@akronohio.gov
                  Address 172 S. Broadway Street, Suite
                  200
                          Akron, Ohio 44308
